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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 REALTIME ADAPTIVE STREAMING
 LLC,
                                                 Lead Case No. 1:17-cv-02097-RBJ
                        Plaintiff,

                v.

 SLING TV L.L.C.,
 SLING MEDIA, L.L.C.,
 DISH NETWORK L.L.C.,
 DISH TECHNOLOGIES L.L.C. AND
 ARRIS GROUP, INC.,

                Defendants.
 REALTIME ADAPTIVE STREAMING
 LLC,
                                                 Case No. 1:17-cv-02692-RBJ
                        Plaintiff,

                v.

 POLYCOM, INC.,

                        Defendant.

                       JOINT MOTION TO DISMISS RE: POLYCOM

       WHEREAS, Plaintiff Realtime Adaptive Streaming LLC (“Plaintiff”) and Defendant

Polycom, Inc. (“Defendant”) have resolved Plaintiff’s claims for relief against Defendant and

Defendant’s counterclaims for relief (if any) against Plaintiff asserted in this case.

       NOW, THEREFORE, Plaintiff and Defendant, through their attorneys of record, request

this Court to dismiss Plaintiff’s claims for relief against Defendant with prejudice and Defendant’s

claims, defenses or counterclaims for relief (if any) against Plaintiff without prejudice, and with

all attorneys’ fees, costs of court and expenses borne by the party incurring same.
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Dated: September 21, 2018              Respectfully submitted,


                                       By: /s/ C. Jay Chung

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                               CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was served on all counsel of record via

electronic service on September 21, 2018.



                                                 /s/ C. Jay Chung
